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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


 UNITED STATES OF AMERICA,et ai.

                       Plaintiffs,

        V.                                          Civil Action No. I:23cv0108(LMB/JFA)

 GOOGLE LLC,

                       Defendant.



                                              ORDER


        This matter is before the court on plaintiffs motion to seal certain portions of their

 opposition to defendant's motion to dismiss the United States' damages claim as moot and to

 strike the jury demand. (Docket no. 689). In the memorandum in support of the motion to seal,

 plaintiffs state that they redacted portions of the opposition based on defendant designating that

 information as confidential. On June 6, 2024, defendant filed a response to this motion stating

 that it had no objection to the redactions in the memorandum being unsealed.(Docket no. 743).

        Initially, the court finds that the materials filed relating to this motion to dismiss would

 require an analysis of the public's access under the First Amendment standard requiring that

 access may be restricted only if it is necessitated by a compelling government interest and the

 denial of access is narrowly tailored to serve that interest. See Va. Dep't ofState Police v. Wash.

 Post, 386 F.3d 567, 575 (4th Cir. 2004); Doe v. Pub. Citizen, 749 F.3d 246, 266(4th Cir. 2014).

 Having reviewed the submissions of the parties and taking into account the Fourth Circuit's

 directives and defendant's agreement that the information does not need to remain under seal, it

 is hereby
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        ORDERED that the motion to seal is denied and within seven days plaintiffs shall file an

 unredacted version of their opposition to defendant's motion to dismiss the United States'

 damages claim as moot and to strike the jury demand in the public record.

        Entered this 28th day of June, 2024.
                                                                 /S/.
                                                    John F. Anderson

                                                     John F. Anderson
 Alexandria, Virginia                                United States Magistrate Judge
